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               EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                              v.
                            THE CHEESECAKE FACTORY, INC.

                                      CV 08-1207-PHX-NVW


                             INDEX OF EXHIBITS TO
                      OPPOSITION TO MOTION TO INTERVENE
                     AND CROSS-MOTION TO STAY PROCEEDINGS
                           AND COMPEL ARBITRATION



Exhibit A Fitzpatrick's Handbook Receipt & Confidentiality Agreement, dated
                   October 31, 2004

Exhibit B Miler's Handbook Receipt & Confidentiality Agreement, dated
                   October 31, 2004




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                                              EXHIBIT A
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                         HANDBOOK RECEIPT & CONFIDENTIALITY AGREEMENT
                                                                                                              Originally issued 2/93
                                                                                                                          Revised 3/02


     lnitial;~ acknowledge receipt ofa copy of                 The Cheesecake Factory staff    member handbook and
                    other training materials relevant to my job. I understand that this Handbook and other
                    materials contain importt information on some of               The Cheesecake Factory's general
                    personnel policies and on my privileges and obligations' as an employee of          this Company.
                    I acknowledge that it is my responsibility to read and adhere to the guidelines in all
                    materiaL. I am aware that The Cheesecake Factory may, in its sole discretion, change,
                    rescind or add to any policies, benefits or practices described in this handbook or other
                    training material and that I must abide by the new policies and practices.

     InitiJ3~ I understand and acknowledge that the Company's staff                     member handbook sets forth
                    specific rules and guidelines staff member conduct ("The Forbidden"). It is my
                    responsibilty to adhere to these rules and guidelines as well as other rules and guidelines
                    which may be established by the Company from time to time. i understand that the
                    Company's "Forbidden List" is not an exhaustive list of  prohibited conduct, and that a
                    violation of the "Forbidden List" or any other prohibited conduct may lead to discjplinary
                    action, up to and including discharge.

     lnitiai~ I also understand that the Handbook and other training materials are not, nor should they
                    be considered to be, an agreement or contract of employment, express or implied. I
                    fuer acknowledge and understand that my employment with The Cheesecake Factory
                    is and at all time remains at wilL. This means that I have the right to terminate
                    employment at any time, for any reason, without cause. Likewise, The Cheesecake
                    Factory may terminate my employment at any time, for any reason, with or without
             ~2se.
      initial;'Z: understand that I wil be given or exposed to materials that are considered proprietary or
                    confidential in nature. Items such as this Handbook and the Development Guides are the
                    sole propert of  The Cheesecake Factory, and are intended for staff   members' use only. i
                    understand that I may not share, sell, photocopy or distribute any of these materials to
                    any other individual, business or corporation, either during or after my employment.
                    Also, depending on my position, I may be exposed to recipes and preparation methods.
                    understand that recipes and preparation methods are highly confidential and that I may
                    not reveal or share this information with anyone or for any reason, either during or after
                    my employment. By signing this document, I agree that I wil not divulge recipes,
                     ingredients or preparation methods either verbally or in writing to any other part. at any
                     time, for any reason. I also understand that it is against Company policy to make or
                     possess copies ofrecipes for any non-Company use, or for the use of others. Upon
                     termination of my employment, I shall return all copies of any recipes or preparation
                     methods that may be in my possession. I understand that I am bound by this
                     Confidentiality Agreement during and aftr my employment by The Cheesecake Factory.


            0i:/J .  Failure to adhere to this Confidentiality Agreement may lead to disciplinary action,
                     discharge, and/or legal action.

      Inìti~~~derstand that the Cheesecake Factory maintains a written Injury and Ilness
                     Prevention Program (I1PP) which is in accord with the federal and state Occupational
                     Safety and Health Acts, as well as the General             Industr Safety Orders. The I1PP is
                     administered in the restaurant by the general maager, with the assistance and guidance
                     ofthe restaurant's safety manager. i also understand and acknowledge that it is my
                     resonsibilty to read The Cheesecake Factory's Safety Policy and abide by the
                     requirements of such policy.



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 initía~ I understad and acknowledge that the Company has a zero tolerance drug and alcohol
               policy. I further understand that pursuant to the Company's drug and alcohol policy, the
               Company may test staff members who are suspected of using drug/alcohol on the job or
               reporting to work under the influence of following a work related injury or accident.


 InitiaP'¡ i understand and acknowledge that the Company uses the "Rate In Effect" method for
               determining the applicable overtime rate. i understand that under this method, if i work
               in two different job classifications, I wil be paid I Vi times the regular rate of pay for the
               job classification I am working in at the time I become eligible for overtime
              ~pensation.
 initia~ i recognize that differences may arise between me and the Company during, or following
               my employment with the Company. I agree to participate in imparal dispute-resolution
               proceedings as a condition of and as consideration for the offer of employment by the
               Company. If  I or the Company determines that the Company's intemal procedures for
               handling claims (including but not limited to, reporting claims to my manager, the Area
               Director, the CARLINE and/or the Company's staff relations department), have not .
               resulted in a mutually acceptable resolution of disputes between me and the Company, I

     .c~gree to participate in arbitration proceedings. .
Initia~derstand that security cameras may be in use within Company restaurants and other premises to
               monitor for security, theft, injury and other reasons. I hereby consent to such video surveilance.




               Work Group:

Remove this page from the Handbook. Photocopy this signed form and give to staff member; place
original in staff member's fie.




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               Signatue:                                      " !J\ . Date: N:: 151 Ivy
                                                                                I (
               Cheesecake Factory Location:                                      "Z

               Work Group: ~("'C

Remove this page from the Handbook. Photocopy this signed form and give to staff member; place
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